                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

CALVIN N. TRAMBLE                               )
                                                )
v.                                              )           Nos. 1:03-cv-306/1:98-cr-077-05
                                                )           Edgar
UNITED STATES OF AMERICA                        )


                                       JUDGMENT

       For the reasons expressed in the accompanying memorandum, it is the JUDGMENT of this

Court that:

       (1)     Plaintiff’s objection [Doc. No. 12] to the report and recommendation of the United

States Magistrate Judge [Doc. No. 11] is DENIED. The Court ACCEPTS AND ADOPTS the

United States Magistrate Judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B)

and FED. R. CIV. P. 72(B);

       (2)     All claims of Calvin N. Tramble (“Tramble”) in his motion to vacate, set aside and

correct sentence under 28 U.S.C. § 2255 [Doc. No. 1] are DENIED AND DISMISSED WITH

PREJUDICE;

       (3)     Tramble’s motion for a summary judgment on his § 2255 claims [Doc. No. 8] is

DENIED AND DISMISSED WITH PREJUDICE;

       (4)     Tramble’s motion to amend his § 2255 motion [Doc. No. 4] is DENIED AND

DISMISSED WITH PREJUDICE;

       (5)     Pursuant to 28 U.S.C. § 1915(A)(3) and RULE 24 of the FEDERAL RULES OF

APPELLATE PROCEDURE the Court hereby CERTIFIES that any appeal from this action would not

be taken in good faith and would be totally frivolous. Therefore, any application by Tramble for

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leave to proceed in forma pauperis on appeal is DENIED. 28 U.S.C. § 1915(a)(3); FED. R. APP.

P. 24; and,

       (5)     Should Tramble file a timely notice of an appeal from this order, such notice will be

treated as an application for a certificate of appealability, which is hereby DENIED since he has

failed to make a substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2);

Rule 22(b) of the FEDERAL RULES OF APPELLATE PROCEDURE.

       SO ORDERED.

       ENTER this 15th day of June, 2005.

                                                    /s/ R. Allan Edgar
                                                   R. ALLAN EDGAR
                                         CHIEF UNITED STATES DISTRICT JUDGE




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